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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

SYMBOLOGY INNOVATIONS, LLC          §
                                    §
      Plaintiff,                    §
                                    §
vs.                                 §               Case No: 2:15-cv-1415-RWS-RSP
                                    §
.HEALTHCARE SERVICES                §
CORPORATION d.b/a BLUE CROSS        §
BLUE SHIELD OF TEXAS, INC.          §
                                    §
      Defendants.                   §
___________________________________ §

                                          ORDER

       On this day the Court considered the Motion to Dismiss Healthcare Services Corporation
d/b/a Blue Cross Blue Shield of Texas, Inc. It is therefore ORDERED that all claims by
Symbology Innovations, LLC against Healthcare Services Corporation d/b/a Blue Cross Blue
Shield Texas, Inc. are hereby DISMISSED WITHOUT PREJUDICE, with each party to bear its
        SIGNED
own costs, expensesthis
                     and3rd day of January,
                         attorneys’ fees.   2012.
        SIGNED this 12th day of July, 2016.




                                                    ____________________________________
                                                    ROY S. PAYNE
                                                    UNITED STATES MAGISTRATE JUDGE
